Case 1:05-cr-10021-.]DT Document 21 Filed 04/26/05 Page 1 of 2 Page|D 19

IN THE UNITED STATES DISTRICT cOURT §MH]By n

FOR THE WESTERN DISTRICT OF TENNESSEE -_""_" D£L'
EASTERN DIVISION OSApRZB

PH 3:35

UNITED STATES OF AMERICA

 

vs Criminal No. 1:05-CR-10021-01-T
DAVID FRANKLIN PRUIETT, JR.
ORDER CONTINUING TRIAL DATE AND SPECIFYING DELAY
EXCLUDABLE U'NDER SPEEDY TRIAL ACT

Upon motion of counsel for defendant the trial date of May 9,
2005, is continued to allow counsel for the defendant additional
time in which to prepare. The ends of justice served by taking such
action outweigh the best interest of the public and the defendant in
a speedy trial.

The Clerk shall re-set the REPORT DATE/MOTION HEARING for
TUESDAYl JUNE 14¢ 2005 at 8:30 A.M. and reset TRIAL DATE for
WEDNESDA,Yl JUNE 22l 2005 at 9:30 A.M. The Court finds that the
grounds for this continuance justified excluding the period of
May 9, 2005, to June 22, 2005, as excludable delay under

Title 18 U.s.c.§3161(h) (8) (B) (iv) and(h) (8) (A).

IT IS SO ORDERED. ; l '

JAM D. TODD
UNI D STATES DISTRICT JUDGE

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DISTRIC COURT - WESERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 1:05-CR-10021 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

